     Case 2:16-cv-02022-GMN-VCF Document 101 Filed 06/01/18 Page 1 of 3



 1   D. NEAL TOMLINSON
     Nevada Bar No. 06851
 2   neal@hyperionlegal.com
     KRISTINA R. KLEIST
 3   Nevada Bar No. 13520
     kristina@hyperionlegal.com
 4   Hyperion Advisors
     3960 Howard Hughes Parkway, Suite 500
 5   Las Vegas, Nevada 89169
     Telephone: (702) 990-3901
 6   Fax: (702) 999-3501
 7   Attorneys for Defendants
 8
                                  UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA
10

11    FEDERAL TRADE COMMISSION,                        Case No. 2:16-cv-02022-GMN-VCF
12           Plaintiff,
13           v.                                        STIPULATION AND ORDER TO
                                                       EXTEND RESPONSE DEADLINE
14    OMICS GROUP INC., et al.,
15           Defendants.
16

17          Defendants, OMICS GROUP INC., IMEDPUB LLC, CONFERENCE SERIES LLC,

18   and SRINUBABU GEDELA, by and through counsel of record, D. Neal Tomlinson and

19   Kristina R. Kleist, and Plaintiff, FEDERAL TRADE COMMISSION, by and through counsel of

20   record, Gregory A. Ashe and Michael E. Tankersley, hereby agree and stipulate as follows:

21          1. Plaintiff filed a Motion for Sanctions and Motion to Compel on May 9, 2018 (Dkt.

22                Nos. 92, 94), responses due on May 23, 2018.

23          2. This Court granted a stipulation for an extension of time (Dkt. No. 98) extending the

24                due date for the response to June 1, 2018.

25          3. Defense counsel has still been dealing with pressing family medical issues which has

26                continued to require counsel to be out of the office, and additional time is needed to
27                confer with Defendants and respond to Plaintiff’s Motions.

28          4. Plaintiff’s counsel has agreed to extend the response date to June 8, 2018.

                                                    Page 1
     Case 2:16-cv-02022-GMN-VCF Document 101 Filed 06/01/18 Page 2 of 3



 1           5. This Stipulation is being made in good faith between and at the request of both

 2              parties, and not for purposes of delay.

 3   HYPERION ADVISORS                                    FEDERAL TRADE COMMISSION
 4   Dated this 31st day of May, 2018.                    Dated this 31st day of May, 2018.
 5    /s/ D. Neal Tomlinson                                /s/ Gregory A. Ashe
     D. NEAL TOMLINSON                                    ALDEN F. ABBOTT
 6                                                        General Counsel
     Nevada Bar No. 06851
     KRISTINA R. KLEIST                                   GREGORY A. ASHE
 7                                                        MICHAEL E. TANKERSLEY
     Nevada Bar No. 13520
                                                          Federal Trade Commission
 8   3960 Howard Hughes Parkway, Suite 500                600 Pennsylvania Avenue NW
     Las Vegas, Nevada 89169                              Washington, DC 20850
 9
     Attorneys for Defendants                             Attorneys for Plaintiff
10

11                                               ORDER
12
             Pursuant to the stipulation of the parties, the deadline for Defendants to file their
13
     responses to the Motion for Sanctions and Motion to Compel is hereby extended to June 8,
14
     2018.
15
     IT IS SO ORDERED.
16
                         1st day of ________________________,
             Dated this _____        June                     2018.
17

18

19                                                          Cam Ferenbach
20
     Respectfully submitted by:                             United States Magistrate Judge
     HYPERION ADVISORS
21

22   /s/ D. Neal Tomlinson
23   D. NEAL TOMLINSON
     Nevada Bar No. 06851
24   KRISTINA KLEIST
     Nevada Bar No. 13520
25   Attorneys for Defendants

26
27

28

                                                   Page 2
     Case 2:16-cv-02022-GMN-VCF Document 101 Filed 06/01/18 Page 3 of 3



                                     CERTIFICATE OF SERVICE
 1

 2          The undersigned hereby certifies that on May 31, 2018, a true and correct copy of the
 3   foregoing STIPULATION AND [PROPOSED] ORDER TO EXTEND RESPONSE
 4   DEADLINE was filed electronically with the United States District Court for the District of
 5   Nevada using the CM/ECF system, which sent notification to all parties of interest participating
 6   in the CM/ECF system.
 7

 8

 9                                                         /s/ D. Neal Tomlinson
                                                           Attorney for Defendants
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                  Page 3
